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                             UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF CALIFORNIA


JEFFREY BERK, et al.,                        Case No.: 18-cv-01364-VC

               Plaintiffs,                   JOINT CASE MANAGEMENT
                                             STATEMENT
vs.
                                             Date: August 21, 2019
COINBASE, INC., et al.,                      Time: 10:00 a.m.

               Defendants.                   Judge: Hon. Vince Chhabria
                                             Ctrm: 4, 17th Floor




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       The parties jointly submit this Subsequent Case Management Statement in advance of

the upcoming August 21, 2019 Case Management Conference. The parties have previously

submitted a full Joint Case Management Statement, see Dkt. 28, as well as a supplemental

Second Joint Case Management Statement, see Dkt. 69. Pursuant to Local Rule 16-10(d), the

parties will focus this statement only on “progress or changes since the last statement was filed”

and “proposals for the remainder of the case development process.”

1.     Amendment of Pleadings
       Plaintiffs do not presently intend to amend the operative complaint. Defendant Coinbase

will file an answer by September 3, 2019, subject to the parties’ stipulation, filed August 9,

2019 (ECF No. 76).

         Because the Court’s August 2019 Order dismissed with prejudice all counts that had

been pled against Brian Armstrong and David Farmer (Counts III-VIII, see Second Amended

Class Action Complaint (ECF No. 51) at 43–50), the parties agree that Messrs. Armstrong and

Farmer are not currently parties to this case and accordingly are not required to file any answer

or other response to the Second Amended Class Action Complaint.

       Plaintiffs state that they reserve the right to seek leave to amend and plead additional

claims against Armstrong and Farmer at a later date. Defendants reserve all rights to oppose

any such amendment.

       Additionally, Coinbase’s position is that, pursuant to the Court’s August 2019 Order, the

claims asserted by Plaintiffs Preetham Periaswami and Niko Younts have been dismissed.

Accordingly, Coinbase does not believe that its needs to respond to allegations that solely

pertain to claims asserted by Periaswami and Younts.

2.     Discovery

       A.      Plaintiffs’ Position
       Plaintiffs served a set of requests for production of documents (the “First RFPs”) and

interrogatories (the “First Interrogatories”) on Defendants on May 10, 2018, and a second set of

requests for production of documents (the “Second RFPs”), and interrogatories (the “Second

Interrogatories”) on October 24, 2018. Defendants have responded and made limited document
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productions. The parties have exchanged extensive correspondence concerning the adequacy of

Defendants’ responses to Plaintiffs’ discovery requests and have engaged in at least one

extensive telephonic meet and confer. Although the parties have agreed upon certain

compromises, Plaintiffs believe that certain responsive documents remain outstanding.

Plaintiffs intend to serve further discovery, particularly in light of the Court’s ruling on August

6, 2019 ruling and the expiration of any stay of discovery (if in fact, there was such a stay). If

the parties cannot resolve any outstanding issues, the parties will file a joint letter brief in

accordance with the Court’s Standing Order for Civil Cases (“Standing Order”). Moreover,

Plaintiffs do not believe that the Action should be stayed pending the recently filed appeal. The

Action has been pending for over seventeen months, and little discovery has taken place during

that time. At a minimum, discovery should proceed during the pendency of the appeal.

         B.      Defendants’ Position
         Defendants went to significant lengths to provide early discovery to Plaintiffs—

including responses to no fewer than 27 RFPs and 12 interrogatories— even before Plaintiffs’

theory of the case was clear or the pleadings settled. Coinbase will evaluate Plaintiffs’ further

discovery when it is received and respond accordingly. As set forth below, however, Coinbase

has filed a motion to stay proceedings before this Court pending resolution of its appeal to the

Ninth Circuit of the order denying Defendants’ motion to compel arbitration.

3.       Class Actions
         The parties address the issue of how and when a class will be certified in the Schedule

below.

4.       Settlement and ADR
         The parties remain willing to discuss potential mediation or other forms of ADR.

5.       Scheduling

         A.      Plaintiffs’ Position
         Plaintiffs’ proposed schedule is attached hereto as Appendix A, and is similar to one

earlier proposed but extended by the 10 months—[Dkt. No. 40], to reflect the time spent on the
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last round of motions. Plaintiffs do not agree that Defendants’ requested stay of these

proceeding are warranted and note that the action has been pending for over 17 months with

little discovery. Plaintiffs believe that the Action should proceed regardless of Defendants’

appeal, discussed below.

        B.       Defendants’ Position
        On August 12, 2019, Coinbase, Armstrong, and Farmer filed a Notice of Appeal of the

Court’s denial of defendants’ motion to compel arbitration (ECF No. 77) and moved to stay this

case pending that appeal (ECF No. 78). Coinbase set the motion to stay hearing on the first

available calendar date on which Plaintiffs’ counsel initially said they were available—October

17, 2019. 1 Coinbase does not wish to delay resolution of this motion and asks that the parties

discuss whether it would be possible to advance the hearing at the case management conference

when all parties and the Court can consult their calendars to determine if an earlier date is

possible. 2

        To the extent it is not possible to advance the hearing on Coinbase’s motion to stay

earlier than October, the parties have conferred and agreed that the hearing should be re-set for

October 10, 2019. Further, Plaintiffs have requested a modification of the briefing schedule on

the motion to stay in order to accommodate prior conflicts and other obligations for Plaintiffs’

counsel. To the extent the hearing date is not advanced, Coinbase is willing to accommodate
this request, and agrees that Plaintiffs’ opposition can be filed by September 12, 2019, with

Coinbase’s reply due on September 26, 2019. If this schedule is agreeable to the Court, the

parties can provide a stipulation and proposed order after the case management conference.

        As to the overall case schedule, Coinbase believes it is premature to set a trial date,

discovery deadlines, or further motion dates until its motion to stay is resolved. But should the



1
  As set forth below, Plaintiffs’ counsel has since informed defense counsel that they are
available on October 10, 2019.
2
  Plaintiffs’ counsel has informed Coinbase that they have a prior court appearance before the
Hon. Beth Labson Freeman on September 26, 2019. They have further indicated that they are
unable to brief the motion prior to mid September, 2019 given their commitments in that case.
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Court require dates to be set at this time, Defendants’ proposed case schedule os attached hereto

as Appendix B.



DATED: August 14, 2019                        GREEN & NOBLIN, P.C.


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                                                -4-
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                                       ATTESTATION
       I hereby attest that I have obtained concurrence in the filing of this document from each

of the other persons whose signatures are indicated by a conformed signature (/S/) within this e-

filed document.


DATED: August 14, 2019                               /s/ Robert S. Green
                                                     Robert S. Green




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               APPENDIX A: PLAINTIFFS’ PROPOSED SCHEDULE

Event                                                 Date/Deadline

Deadline to Amend Pleadings                           August 22, 2019

Merits Experts: Opening Reports                       April 6, 2020

               Rebuttal Reports                       May 4, 2020

Merits Expert Discovery Completed by                  May 25, 2020

Fact Discovery Cutoff                                 June 15, 2020

Deadline to File Dispositive Motions                  June 22, 2020

Deadline to File Oppositions to Dispositive Motions   July 13, 2020

Deadline to File Replies ISO Dispositive Motions      July 27, 2020

Hearing on Dispositive Motions                        August 13, 2020 at 10 a.m.

Deadline to File Class Cert. Motion                   August 24, 2020

Deadline to File Opposition to Class Cert. Motion     September 14, 2020

Class Cert. Expert Discovery Cutoff                   September 28, 2020
Deadline to File Reply ISO Class Cert. Motion

Hearing on Class Certification Motion                 October 8, 2020 at 10 a.m.

Pretrial Conference                                   January 18, 2021
                                                      at 1:30 p.m.

Trial                                                 February 16, 2021




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               APPENDIX B: DEFENDANTS’ PROPOSED SCHEDULE

Event                                                     Date/Deadline

Deadline to Amend Pleadings                               August 20, 2019

All Fact Discovery Completed by                           June 1, 2020

Experts: Opening reports on issues on which party bears   June 15, 2020
the burden of proof

Experts: Rebuttal Reports                                 July 15, 2020

All Expert Discovery Completed by                         August 7, 2020

Deadline to File Class Cert. Motion                       August 31, 2020

Deadline to File Opposition to Class Cert. Motion         September 24, 2020

Deadline to File Reply ISO Class Cert. Motion             October 8, 2020

Hearing on Class Certification Motion                     October 22, 2020 at 10am

Deadline to File Dispositive Motions                      November 24, 2020

Deadline to File Oppositions to Dispositive Motions       December 21, 2020

Deadline to File Replies ISO Dispositive Motions          January 14, 2021

Hearing on Dispositive Motions                            January 28, 2021 at 10am

Joint Pretrial Conference Statement                       April 26, 2020

Pretrial Conference                                       May 24, 2021 at 1:30pm

Trial                                                     June 21, 2021




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